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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division


   UNITED STATES, et al.,

          Plaintiffs,
                                                    Civil Action No. 1:23-cv-00108-LMB-JFA
          v.

   GOOGLE LLC,

          Defendant.




         MOTION TO WITHDRAW AS ATTORNEY FOR THE STATE OF NORTH
             CAROLINA ON BEHALF OF JONATHAN RICHARD MARX

         Pursuant to Local Rule 83.1, the undersigned, Tyler T. Henry, hereby submits Jonathan

  Richard Marx’s Motion to Withdraw as Attorney for the State of North Carolina in the above-

  captioned matter. Mr. Marx was admitted to the Eastern District of Virginia pro hac vice on April

  21, 2023 (Dkt. 155). Jasmine Spring McGhee, Kunal Janak Choksi, and Tyler T. Henry will

  continue to represent the State of North Carolina as Attorneys of Record in this matter. A proposed

  Order is submitted herewith.

         Oral argument is not requested on this motion.

                                               Respectfully submitted,



  Dated June 28, 2024                          /s/ Tyler T. Henry
                                               Tyler T. Henry (VSB No. 87621)
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                                  CERTIFICATE OF SERVICE

          I, Tyler T. Henry, hereby certify that on June 28, 2024, a copy of the foregoing Motion to
  Withdraw as Attorney for the State of North Carolina on behalf of Jonathan Richard Marx was
  electronically filed with the Court, thereby providing electronic service to all counsel of record.


  Dated: June 28, 2024                         /s/ Tyler T. Henry
                                               Tyler T. Henry
